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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  AIDS VACCINE ADVOCACY
  COALITION, et al.,

                   Plaintiffs,
                                                        Civil Action No. 25-cv-400 (AHA)
            v.

  UNITED STATES DEPARTMENT OF
  STATE, et al.,

                   Defendants.


  GLOBAL HEALTH COUNCIL, et al.,

                   Plaintiffs,
                                                        Civil Action No. 25-cv-402 (AHA)
            v.

  DONALD J. TRUMP, et al.,

                   Defendants.


  DEFENDANTS’ STATUS REPORT UNDER MINUTE ORDER OF MARCH 24, 2025

       1.        Defendants hereby respond to the inquiries in the Court’s Minute Order of March

17, 2025, as made applicable through subsequent Minute Orders.

       2.        As to processing of payments to foreign assistance funding recipients for work

completed prior to February 13, 2025: As of yesterday, the total number of such payments by

Defendants to Plaintiffs processed since July 9, 2025 was 12, and the total number of such

payments by Defendants to non-Plaintiffs processed since July 9, 2025 was 1,264. In sum,

Defendants have therefore processed 1,276 payments during the five business days through and

including July 16, 2025.


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       3.      The total number of such payments which remain to be processed for Plaintiffs is

10, and the total number of such payments which remain to be processed for non-Plaintiffs is

2,298. There are therefore approximately 2,300 payments remaining to be processed.

       4.      Although USAID has continued to process certain payments made through the

payment management system operated by the Department of Health & Human Services (HHS),

USAID has not been able to disaggregate HHS-operated payments for work completed prior to

February 13, 2025 from HHS-operated payments for work completed later. Hence, USAID has

not reported HHS-operated payments in its count above.

       5.      As Defendants have previously explained, they continue to receive or identify

additional requests for payment for work completed prior to February 13, 2025.

       6.      As to the provisions in this Court’s Order of March 10, 2025 concerning “funds

that Congress appropriated for foreign assistance programs in the Further Consolidated

Appropriations Act of 2024”: In consultation with the Office of Management and Budget, and in

light of the results of the programmatic review and the planned reorganization outlined in the

notification to Congress, USAID and State continue to evaluate the appropriate next steps to

address the provision in this Court’s March 10, 2025, order regarding obligation of funds.

       7.      Defendants responded to AVAC Plaintiffs’ motion to enforce the preliminary

injunction on June 23, 2025 and moved on July 10, 2025 for leave to file a surreply as to the AVAC

Plaintiffs’ subsequently-filed declarations. Defendants responded to GHC Plaintiffs’ motion to

enforce the preliminary injunction on June 30, 2025 and moved on July 8, 2025 for leave to file a

surreply as to the GHC Plaintiffs’ subsequently-filed declaration.




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Dated: July 17, 2025                    Respectfully submitted,
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